Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 1 of 21




                       Exhibit 2
            Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 2 of 21




NEITHER THE ISSUANCE AND SALE OF THE SECURITIES REPRESENTED BY THIS
CERTIFICATE NOR THE SECURITIES INTO WHICH THESE SECURITIES ARE
CONVERTIBLE HAVE BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933,
AS AMENDED, OR APPLICABLE STATE SECURITIES LAWS. THE SECURITIES MAY
NOT BE OFFERED FOR SALE, SOLD, TRANSFERRED OR ASSIGNED (I) IN THE
ABSENCE OF (A) AN EFFECTIVE REGISTRATION STATEMENT FOR THE
SECURITIES UNDER THE SECURITIES ACT OF 1933, AS AMENDED, OR (B) AN
OPINION OF COUNSEL (WHICH COUNSEL SHALL BE SELECTED BY THE
HOLDER), IN A GENERALLY ACCEPTABLE FORM, THAT REGISTRATION IS NOT
REQUIRED UNDER SAID ACT OR (II) UNLESS SOLD PURSUANT TO RULE 144 OR
RULE 144A UNDER SAID ACT. NOTWITHSTANDING THE FOREGOING, THE
SECURITIES MAY BE PLEDGED IN CONNECTION WITH A BONA FIDE MARGIN
ACCOUNT OR OTHER LOAN OR FINANCING ARRANGEMENT SECURED BY THE
SECURITIES.

Principal Amount: $100,000.00                                       Issue Date: September 25, 2018


                                          8% CONVERTIBLE NOTE

        FOR VALUE RECEIVED, DARKPULSE, INC., a Delaware corporation (“Borrower” or
“Company”), hereby promises to pay to the order of EMA FINANCIAL, LLC, a Delaware limited
liability company, or its registered assigns (the “Holder”), on June 25, 2019, (subject to extension as
set forth below, the “Maturity Date”), the sum of $100,000.00 as set forth herein, together with
interest on the unpaid principal balance hereof at the rate of eight (8%) per annum (the “Interest
Rate”) from the date of issuance hereof until this Note plus any and all amounts due hereunder are
paid in full, and any additional amounts set forth herein, including without limitation any Additional
Principal (as defined herein). Interest shall be computed on the basis of a 365-day year and the
actual number of days elapsed. Any amount of principal or interest on this Note which is not paid
when due shall bear interest at the rate of twenty-four (24%) per annum from the due date thereof
until the same is paid (“Default Interest”). All payments due hereunder shall be made in lawful
money of the United States of America. All payments shall be made at such address as the Holder
shall hereafter give to the Borrower by written notice made in accordance with the provisions of this
Note. Whenever any amount expressed to be due by the terms of this Note is due on any day which
is not a business day, the same shall instead be due on the next succeeding day which is a business
day and, in the case of any interest payment date which is not the date on which this Note is paid in
full, the extension of the due date thereof shall not be taken into account for purposes of
determining the amount of interest due on such date. As used in this Note, the term “business day”
shall mean any day other than a Saturday, Sunday or a day on which commercial banks in the city
of New York, New York are authorized or required by law or executive order to remain closed.
Each capitalized term used herein, and not otherwise defined, shall have the meaning ascribed
thereto in that certain Securities Purchase Agreement entered into by and between the Company and
Holder dated on or about the date hereof, pursuant to which this Note was originally issued (the
“Purchase Agreement”). The Holder may, by written notice to the Borrower at least five (5) days
before the Maturity Date (as may have been previously extended), extend the Maturity Date to up to
one (1) year following the date of the original Maturity Date hereunder.
                                                  1
Convertible Note – DPLS, T1, 2018-09-25
            Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 3 of 21



        This Note is free from all taxes, liens, claims and encumbrances with respect to the issue
thereof and shall not be subject to preemptive rights or other similar rights of shareholders of the
Borrower and will not impose personal liability upon the holder thereof.

          The following terms shall apply to this Note:

                                          ARTICLE I. CONVERSION RIGHTS

                1.1.    Conversion Right. The Holder shall have the right, in its sole and absolute
discretion, at any time from time to time, to convert all or any part of the outstanding amount due
under this Note into fully paid and non-assessable shares of Common Stock, as such Common
Stock exists on the Issue Date, or any shares of capital stock or other securities of the Borrower into
which such Common Stock shall hereafter be changed or reclassified at the conversion price (the
“Conversion Price”) determined as provided herein (a “Conversion”); provided, however, that in no
event shall the Holder be entitled to convert any portion of this Note in excess of that portion of this
Note upon conversion of which the sum of (1) the number of shares of Common Stock beneficially
owned by the Holder and its affiliates (other than shares of Common Stock which may be deemed
beneficially owned through the ownership of the unconverted portion of the Notes or the
unexercised or unconverted portion of any other security of the Borrower subject to a limitation on
conversion or exercise analogous to the limitations contained herein) and (2) the number of shares
of Common Stock issuable upon the conversion of the portion of this Note with respect to which the
determination of this proviso is being made, would result in beneficial ownership by the Holder and
its affiliates of more than 4.9% of the outstanding shares of Common Stock. For purposes of the
proviso to the immediately preceding sentence, beneficial ownership shall be determined in
accordance with Section 13(d) of the Securities Exchange Act of 1934, as amended (the “Exchange
Act”), and Regulation 13D-G thereunder, except as otherwise provided in clause (1) of such
proviso, provided, further, however, that the limitations on conversion may be waived by the Holder
upon, at the election of the Holder, not less than 61 days’ prior notice to the Borrower, and the
provisions of the conversion limitation shall continue to apply until such 61st day (or such later
date, as determined by the Holder, as may be specified in such notice of waiver). The number of
shares of Common Stock to be issued upon each Conversion of this Note (“Conversion Shares”)
shall be determined by dividing the Conversion Amount (as defined below) by the applicable
Conversion Price then in effect on the date specified in the notice of conversion, in the form
attached hereto as Exhibit A (the “Notice of Conversion”), delivered to the Borrower by the Holder
in accordance with Section 1.4 below; provided that the Notice of Conversion is submitted by
facsimile or e-mail (or by other means resulting in, or reasonably expected to result in, notice) to the
Borrower before 11:59 p.m., New York, New York time on such conversion date (the “Conversion
Date”). The term “Conversion Amount” means, with respect to any Conversion of this Note, the
sum of (1) the principal amount of this Note to be converted in such Conversion, plus (2) accrued
and unpaid interest, if any, on such principal amount being converted at the interest rates provided
in this Note to the Conversion Date, plus (3) at the Holder’s option, Default Interest, if any, on the
amounts referred to in the immediately preceding clauses (1) and/or (2), plus (4) any Additional
Principal for such Conversion, plus (5) at the Holder’s option, any amounts owed to the Holder
pursuant to Sections 1.2(c) and 1.4(g) hereof.




                                                    2
Convertible Note – DPLS, T1, 2018-09-25
            Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 4 of 21



                   1.2.       Conversion Price.

                        a)     Calculation of Conversion Price. The conversion price hereunder (the
“Conversion Price”) shall equal the lower of: (i) $0.25, and (ii) 70% of either the lowest sale price
for the Common Stock on the Principal Market during the twenty (20) consecutive Trading Days
including and immediately preceding the Conversion Date, on which at least 100 shares of Common
Stock were traded, including and preceding the Conversion Date, or the closing bid price,
whichever is lower. If an Event of Default under Section 3.9 of the Note has occurred, Holder, in its
sole discretion, may elect to use a Conversion Price which shall equal the lower of: (i) the closing
sale price of the Common Stock on the Principal Market on the Trading Day immediately preceding
the Closing Date; (ii) 70% of either the lowest sale price or the closing bid price, whichever is lower
for the Common Stock on the Principal Market during any Trading Day in which the Event of
Default has not been cured. If such Common Stock is not traded on the OTCBB, OTCQB, OTC
Pink, NASDAQ or NYSE, then such sale price shall be the sale price of such security on the
principal securities exchange or trading market where such security is listed or traded or, if no sale
price of such security is available in any of the foregoing manners, the average of the closing bid
prices of any market makers for such security that are listed in the “pink sheets” by the National
Quotation Bureau, Inc. If such sale price cannot be calculated for such security on such date in the
manner provided above, such price shall be the fair market value as mutually determined by the
Borrower and the Holder. If the Borrower’s Common stock is chilled for deposit at DTC, becomes
chilled at any point while this Note remains outstanding or deposit or other additional fees are
payable due to a Yield Sign, Stop Sign or other trading restrictions, or if the closing sale price at any
time falls below $0.0305 (as appropriately and equitably adjusted for stock splits, stock dividends,
stock contributions and similar events), then an additional 15% discount will be attributed to the
Conversion Price for any and all Conversions submitted thereafter Additionally, the Borrower
acknowledges that it will take all reasonable steps necessary or appropriate, including providing a
board of directors resolution authorizing the issuance of common stock to Holder. So long as the
requested sale may be made pursuant to Rule 144, the Company agrees to accept an opinion of
counsel to the Holder confirming the rights of the Holder to sell shares of Common Stock issuable
or issued to Holder on conversion of this Note pursuant to Rule 144 as promulgated by the SEC
(“Rule 144”), or at the Holder’s option, Company shall immediately and without delay provide an
opinion of counsel to the Holder confirming the rights of the Holder to sell shares of Common
Stock pursuant to Rule 144, as such Rule 144 may be in effect from time to time, which opinion
will be issued at the Company’s expense and the conversion dollar amount will be reduced by
$500.00 to cover the cost of such legal opinion. “Trading Day” shall mean any day on which the
Common Stock is tradable for any period on the OTC Pink, or on the principal securities exchange
or other securities market on which the Common Stock is then being traded. Additionally, if the
Company ceases to be a reporting company pursuant to the 1934 Act or if the Note cannot be
converted into free trading shares after 181 days from the issuance date, an additional 15% discount
will be attributed to the Conversion Price for any and all Conversions submitted thereafter.

                      b)     If at any time the Conversion Price as determined hereunder for any
Conversion would be less than the par value of the Common Stock, then the Conversion Price
hereunder shall equal such par value for such Conversion and the Conversion Amount for such
Conversion shall be increased to include Additional Principal, where “Additional Principal” means
such additional amount to be added to the Conversion Amount to the extent necessary to cause the
number of Conversion Shares issuable upon such Conversion to equal the same number of

                                                   3
Convertible Note – DPLS, T1, 2018-09-25
            Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 5 of 21



Conversion Shares as would have been issued had the Conversion Price not been subject to the
minimum price set forth in this Section 1.2(b).

                        c)     Without in any way limiting the Holder’s right to pursue other
remedies, including actual damages and/or equitable relief, the parties agree that if delivery of the
free trading shares of Common Stock issuable upon conversion of this Note is not delivered by the
Deadline (as defined below) the Borrower shall pay to the Holder $250.00 per day in cash, for each
day beyond the Deadline that the Borrower fails to deliver such Common Stock. Such cash amount
shall be paid to Holder by the fifth day of the month following the month in which it has accrued or,
at the option of the Holder, shall be added to the principal amount of this Note, in which event
interest shall accrue thereon in accordance with the terms of this Note and such additional principal
amount shall be convertible into Common Stock in accordance with the terms of this Note. The
Borrower agrees that the right to convert this Note is a valuable right to the Holder. The damages
resulting from a failure, attempt to frustrate, or interference with such conversion right are difficult
if not impossible to quantify. Accordingly, the parties acknowledge that the liquidated damages
provision contained in this Section are justified.

                1.3.    Authorized Shares. The Borrower covenants that the Borrower will at all
times while this Note is outstanding reserve from its authorized and unissued Common Stock a
sufficient number of shares, free from preemptive rights, to provide for the issuance of Common
Stock upon the full conversion or adjustment of this Note. The Borrower is required at all times to
have authorized and reserved six (6) times the number of shares that is actually issuable upon full
conversion or adjustment of this Note (based on the Conversion Price of the Notes in effect from
time to time)(the “Reserved Amount”). Initially, the Company will instruct the Transfer Agent to
reserve twelve million two hundred forty five thousand (12,245,000) shares of common stock in the
name of the Holder for issuance upon conversion hereof. The Borrower represents that upon
issuance, such shares will be duly and validly issued, fully paid and non-assessable. In addition, if
the Borrower shall issue any securities or make any change to its capital structure which would
change the number of shares of Common Stock into which this Note shall be convertible at the then
current Conversion Price, the Borrower shall at the same time make proper provision so that
thereafter there shall be a sufficient number of shares of Common Stock authorized and reserved,
free from preemptive rights, for conversion of this Note in full. So long as this Note is outstanding
the Borrower shall instruct the Transfer Agent that upon Holder’s request it shall furnish to the
Holder the then current number of common shares issued and outstanding, the then current number
of common shares authorized, the then current number of unrestricted shares, and the then current
number of shares reserved for third parties. The Borrower (i) acknowledges that it has irrevocably
instructed its transfer agent to issue certificates for the Common Stock issuable upon conversion of
this Note, and (ii) agrees that its issuance of this Note shall constitute full authority to its officers
and agents who are charged with the duty of executing stock certificates to execute and issue the
necessary certificates for shares of Common Stock in accordance with the terms and conditions of
this Note.

                     If, at any time the Borrower does not maintain the Reserved Amount it will
be considered an Event of Default under Section 3.2 of the Note.

                   1.4.       Method of Conversion.



                                                      4
Convertible Note – DPLS, T1, 2018-09-25
            Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 6 of 21



                     a)     Mechanics of Conversion. Subject to Section 1.1, this Note may be
converted by the Holder in whole or in part at any time and from time to time after the Issue Date,
by submitting to the Borrower a Notice of Conversion (by facsimile, e-mail or other reasonable
means of communication dispatched on the Conversion Date prior to 11:59 p.m., New York, New
York time).

                      b)       Book Entry upon Conversion. Notwithstanding anything to the
contrary set forth herein, upon conversion of this Note in accordance with the terms hereof, the
Holder shall not be required to physically surrender this Note to the Borrower unless the entire
unpaid balance of this Note is so converted. The Holder and the Borrower shall maintain records
showing the principal amount so converted and the dates of such conversions or shall use such other
method, reasonably satisfactory to the Holder and the Borrower, so as not to require physical
surrender of this Note upon each such conversion. In the event of any dispute or discrepancy, such
records of the Borrower shall, prima facie, be controlling and determinative in the absence of
manifest error. Notwithstanding the foregoing, if any portion of this Note is converted as aforesaid,
the Holder may not transfer this Note unless the Holder first physically surrenders this Note to the
Borrower, whereupon the Borrower will forthwith issue and deliver upon the order of the Holder a
new Note of like tenor, registered as the Holder (upon payment by the Holder of any applicable
transfer taxes) may request, representing in the aggregate the remaining unpaid principal amount of
this Note. The Holder and any assignee, by acceptance of this Note, acknowledge and agree that, by
reason of the provisions of this paragraph, following conversion of a portion of this Note, the
unpaid and unconverted principal amount of this Note represented by this Note may be less than the
amount stated on the face hereof.

                        c)      Payment of Taxes. The Borrower shall not be required to pay any tax
which may be payable in respect of any transfer involved in the issue and delivery of shares of
Common Stock or other securities or property on conversion of this Note in a name other than that
of the Holder (or in street name), and the Borrower shall not be required to issue or deliver any such
shares or other securities or property unless and until the person or persons (other than the Holder or
the custodian in whose street name such shares are to be held for the Holder’s account) requesting
the issuance thereof shall have paid to the Borrower the amount of any such tax or shall have
established to the satisfaction of the Borrower that such tax has been paid.

                       d)      Delivery of Common Stock upon Conversion. Upon receipt by the
Borrower from the Holder of a facsimile transmission or e-mail (or other reasonable means of
communication) of a Notice of Conversion meeting the requirements for conversion as provided in
this Section 1.4, the Borrower shall issue and deliver or cause to be issued and delivered to or upon
the order of the Holder certificates for the Common Stock issuable upon such conversion within
three (3) business days after such receipt or such an event (the “Deadline”) (and, solely in the case
of conversion of the entire unpaid principal amount hereof, surrender of this Note) in accordance
with the terms hereof and the Purchase Agreement.

                         e)     Obligation of Borrower to Deliver Common Stock. Upon receipt by
the Borrower of a duly and properly executed Notice of Conversion, the Holder shall be deemed to
be the holder of record of the Common Stock issuable upon such conversion, the outstanding
principal amount and the amount of accrued and unpaid interest on this Note shall be reduced to
reflect such conversion or adjustment, and, unless the Borrower defaults on its obligations under
this Article I, all rights with respect to the portion of this Note being so converted shall forthwith

                                                  5
Convertible Note – DPLS, T1, 2018-09-25
            Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 7 of 21



terminate except the right to receive the Common Stock or other securities, cash or other assets, as
herein provided, on such conversion. If the Holder shall have given a Notice of Conversion as
provided herein, the Borrower’s obligation to issue and deliver the certificates for Common Stock
shall be absolute and unconditional, irrespective of the absence of any action by the Holder to
enforce the same, any waiver or consent with respect to any provision thereof, the recovery of any
judgment against any person or any action to enforce the same, any failure or delay in the
enforcement of any other obligation of the Borrower to the holder of record, or any setoff,
counterclaim, recoupment, limitation or termination, or any breach or alleged breach by the Holder
of any obligation to the Borrower, and irrespective of any other circumstance which might
otherwise limit such obligation of the Borrower to the Holder in connection with such conversion.
The Conversion Date specified in the Notice of Conversion shall be the Conversion Date so long as
the Notice of Conversion is received by the Borrower before 11:59 p.m., New York, New York
time, on such date.
                        f)      Delivery of Common Stock by Electronic Transfer. In lieu of
delivering physical certificates representing the Common Stock issuable upon conversion, provided
the Borrower is participating in the Depository Trust Company (“DTC”) Fast Automated Securities
Transfer (“FAST”) program, upon request of the Holder and its compliance with the provisions
contained in Section 1.1 and in this Section 1.4, the Borrower shall use its best efforts to cause its
transfer agent to electronically transmit the Common Stock issuable upon conversion to the Holder
by crediting the account of Holder’s Prime Broker with DTC through its Deposit Withdrawal Agent
Commission (“DWAC”) system. In the event that the shares of the Borrower’s Common Stock are
not deliverable via DWAC following the conversion of any amount hereunder, an additional 5%
discount will be attributed to the Conversion Price.

                       g)      Failure to Deliver Common Stock Prior to Deadline. Without in any
way limiting the Holder’s right to pursue other remedies, including actual damages and/or equitable
relief, the parties agree that if delivery of the Common Stock issuable upon conversion or
adjustment of this Note is not delivered by the Deadline, the Borrower shall pay to the Holder
$1,000.00 per day in cash, for each day beyond the Deadline that the Borrower fails to deliver such
Common Stock to the Holder. Such cash amount shall be paid to Holder by the fifth day of the
month following the month in which it has accrued or, at the option of the Holder, shall be added to
the principal amount of this Note, in which event interest shall accrue thereon in accordance with
the terms of this Note and such additional principal amount shall be convertible into Common Stock
in accordance with the terms of this Note. The Borrower agrees that the right to convert and/or
receive shares in the event of an adjustment is a valuable right to the Holder. The damages resulting
from a failure, attempt to frustrate, or interference with such conversion or adjustment right are
difficult if not impossible to qualify. Accordingly, the parties acknowledge that the liquidated
damages provision contained in this Section 1.4(g) are justified.

                       h)     The Borrower acknowledges that it will take all reasonable steps
necessary or appropriate, including accepting an opinion of counsel to Holder confirming the rights
of Holder to sell shares of Common Stock issued to Holder on conversion or adjustment of the Note
pursuant to Rule 144 as promulgated by the SEC (“Rule 144"), as such Rule may be in effect from
time to time. So long as the requested sale may be made pursuant to Rule 144 the Borrower agrees
to accept an opinion of counsel to the Holder which opinion will be issued at the Borrower’s
expense.


                                                  6
Convertible Note – DPLS, T1, 2018-09-25
            Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 8 of 21



                       i)       Charges and Expenses. Issuance of Common Stock to Holder, or any
of its assignees, upon the conversion of this Note shall be made without charge to the Holder for
any issuance fee, transfer tax, legal opinion and related charges, postage/mailing charge or any other
expense with respect to the issuance of such Common Stock. Company shall pay all Transfer Agent
fees incurred from the reservation and issuance of the Common Stock to Holder, as well as any and
all other fees and charges required by the Transfer Agent as a condition to effectuate such
issuance. That notwithstanding, the Holder may in the interest of securing issuance and/or delivery
of Common Stock before the Deadline, at any time from time to time, in its sole discretion elect to
pay any such fees or charges upfront, and Company agrees that any such fees or charges as noted in
this Section that are paid by the Holder (whether from the Company’s delays, outright refusal to
pay, Holder’s interest in securing issuance and/or delivery of Common Stock before the
Deadline, or otherwise), will be at Company’s expense, and the conversion amount will
automatically be reduced by that dollar amount to cover the cost of the fees or charges as noted in
this Section.

               1.5.     Restricted Securities. The shares of Common Stock issuable upon conversion
or adjustment of this Note may not be sold or transferred unless (i) such shares are sold pursuant to
an effective registration statement under the Act or (ii) the Borrower or its transfer agent shall have
been furnished with an opinion of counsel (which opinion shall be in form, substance and scope
customary for opinions of counsel in comparable transactions) to the effect that the shares to be sold
or transferred may be sold or transferred pursuant to an exemption from such registration or (iii)
such shares are sold or transferred pursuant to Rule 144 under the Act (or a successor rule) (“Rule
144”) or (iv) such shares are transferred to an “affiliate” (as defined in Rule 144) of the Borrower
who agrees to sell or otherwise transfer the shares only in accordance with this Section 1.5 and who
is an Accredited Investor (as defined in the Purchase Agreement). Any legend set forth on any
stock certificate evidencing any Conversion Shares shall be removed and the Borrower shall issue
to the Holder a new certificate therefore free of any transfer legend if (i) the Borrower or its transfer
agent shall have received an opinion of counsel form, substance and scope customary for
opinions of counsel in comparable transactions, to the effect that a public sale or transfer of such
Common Stock may be made without registration under the Act, which opinion shall be reasonably
acceptable to the Company, or (ii) in the case of the Common Stock issued or issuable upon
conversion of this Note, such security is registered for sale by the Holder under an effective
registration statement filed under the Act or otherwise may be sold pursuant to Rule 144 without
any restriction as to the number of securities as of a particular date that can then be immediately
sold.

                   1.6.       Effect of Certain Events.

                        a)     Effect of Merger, Consolidation, Etc. At the option of the Holder, the
sale, conveyance or disposition of all or substantially all of the assets of the Borrower, the
effectuation by the Borrower of a transaction or series of related transactions in which more than
50% of the voting power of the Borrower is disposed of, or the consolidation, merger or other
business combination of the Borrower with or into any other Person (as defined below) or Persons
when the Borrower is not the survivor shall either: (i) be deemed to be an Event of Default (as
defined in Article III) pursuant to which the Borrower shall be required to pay to the Holder upon
the consummation of and as a condition to such transaction an amount equal to the Default Amount
(as defined in Article III) or (ii) be treated pursuant to Section 1.6(b) hereof. “Person” shall mean


                                                          7
Convertible Note – DPLS, T1, 2018-09-25
            Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 9 of 21



any individual, corporation, limited liability company, partnership, association, trust or other entity
or organization.

                        b)     Adjustment Due to Merger, Consolidation, Etc. If, at any time when
this Note is issued and outstanding and prior to conversion of all of the Notes, there shall be any
merger, consolidation, exchange of shares, recapitalization, reorganization, or other similar event, as
a result of which shares of Common Stock of the Borrower shall be changed into the same or a
different number of shares of another class or classes of stock or securities of the Borrower or
another entity, or in case of any sale or conveyance of all or substantially all of the assets of the
Borrower other than in connection with a plan of complete liquidation of the Borrower, then the
Holder of this Note shall thereafter have the right to receive upon conversion of this Note, upon the
basis and upon the terms and conditions specified herein and in lieu of the shares of Common Stock
immediately theretofore issuable upon conversion, such stock, securities or assets which the Holder
would have been entitled to receive in such transaction had this Note been converted in full
immediately prior to such transaction (without regard to any limitations on conversion set forth
herein), and in any such case appropriate provisions shall be made with respect to the rights and
interests of the Holder of this Note to the end that the provisions hereof (including, without
limitation, provisions for adjustment of the Conversion Price and of the number of shares issuable
upon conversion of the Note) shall thereafter be applicable, as nearly as may be practicable in
relation to any securities or assets thereafter deliverable upon the conversion hereof. The Borrower
shall not affect any transaction described in this Section 1.6(b) unless (a) it first gives, to the extent
practicable, thirty (30) days prior written notice (but in any event at least fifteen (15) days prior
written notice) of the record date of the special meeting of shareholders to approve, or if there is no
such record date, the consummation of, such merger, consolidation, exchange of shares,
recapitalization, reorganization or other similar event or sale of assets (during which time, for
clarification, the Holder shall be entitled to convert this Note) and (b) the resulting successor or
acquiring entity assumes by written instrument the obligations of this Section 1.6(b). The above
provisions shall similarly apply to successive consolidations, mergers, sales, transfers or share
exchanges.

                        c)      Adjustment Due to Distribution. If the Borrower shall declare or make
any distribution of its assets (or rights to acquire its assets) to holders of Common Stock as a
dividend, stock repurchase, by way of return of capital or otherwise (including any dividend or
distribution to the Borrower’s shareholders in cash or shares (or rights to acquire shares) of capital
stock of a subsidiary (i.e., a spin-off)) (a “Distribution”), then the Holder of this Note shall be
entitled, upon any conversion of this Note after the date of record for determining shareholders
entitled to such Distribution, to receive the amount of such assets which would have been payable to
the Holder with respect to the shares of Common Stock issuable upon such conversion had such
Holder been the holder of such shares of Common Stock on the record date for the determination of
shareholders entitled to such Distribution. Such assets shall be held in escrow by the Company
pending any such conversion

                       d)      Purchase Rights. If, at any time when any Notes are issued and
outstanding, the Borrower issues any convertible securities or rights to purchase stock, warrants,
securities or other property (the “Purchase Rights”) pro rata to the record holders of any class of
Common Stock, then the Holder of this Note will be entitled to acquire, upon the terms applicable
to such Purchase Rights, the aggregate Purchase Rights which such Holder could have acquired if
such Holder had held the number of shares of Common Stock acquirable upon complete conversion

                                                    8
Convertible Note – DPLS, T1, 2018-09-25
           Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 10 of 21



of this Note (without regard to any limitations on conversion contained herein) immediately before
the date on which a record is taken for the grant, issuance or sale of such Purchase Rights or, if no
such record is taken, the date as of which the record holders of Common Stock are to be determined
for the grant, issue or sale of such Purchase Rights.

                       e)      Stock Dividends and Stock Splits. If the Company, at any time while
this Note is outstanding: (A) pays a stock dividend or otherwise makes a distribution or distributions
payable in shares of Common Stock on shares of Common Stock or any securities convertible into
or exercisable for Common Stock; (B) subdivides outstanding shares of Common Stock into a
larger number of shares; (C) combines (including by way of a reverse stock split) outstanding shares
of Common Stock into a smaller number of shares; or (D) issues, in the event of a reclassification of
shares of the Common Stock, any shares of capital stock of the Company, then the Conversion Price
(and each sale or bid price used in determining the Conversion Price) shall be multiplied by a
fraction, of which the numerator shall be the number of shares of Common Stock outstanding
immediately before such event and of which the denominator shall be the number of shares of
Common Stock outstanding immediately after such event. Any adjustment made pursuant to this
Section shall become effective immediately after the record date for the determination of
stockholders entitled to receive such dividend or distribution and shall become effective
immediately after the effective date in the case of a subdivision, combination or re-classification.

                       f)     Notice of Adjustments. Upon the occurrence of each adjustment or
readjustment of the Conversion Price as a result of the events described in this Section 1.6, the
Borrower, at its expense, shall promptly compute such adjustment or readjustment and prepare and
furnish to the Holder a certificate setting forth such adjustment or readjustment and showing in
detail the facts upon which such adjustment or readjustment is based. The Borrower shall, upon the
written request at any time of the Holder, furnish to such Holder a like certificate setting forth (i)
such adjustment or readjustment, (ii) the Conversion Price at the time in effect and (iii) the number
of shares of Common Stock and the amount, if any, of other securities or property which at the time
would be received upon conversion of the Note.

              1.7.    Revocation. If any Conversion Shares are not received by the Deadline, the
Holder may revoke the applicable Conversion pursuant to which such Conversion Shares were
issuable. This Note shall remain convertible after the Maturity Date hereof until this Note is repaid
or converted in full.

              1.8.     Prepayment. Notwithstanding anything to the contrary contained in this Note,
subject to the terms of this Section, at any time during the period beginning on the Issue Date and
ending on the date which is six (6) months following the Issue Date (“Prepayment Termination
Date”), Borrower shall have the right, exercisable on not less than five (5) Trading Days prior
written notice to the Holder of this Note, to prepay the outstanding balance on this Note (principal
and accrued interest), in full, in accordance with this Section. Any notice of prepayment hereunder
(an “Optional Prepayment Notice”) shall be delivered to the Holder of the Note at its registered
addresses and shall state: (1) that the Borrower is exercising its right to prepay the Note, and (2) the
date of prepayment which shall be not more than fifteen (15) Trading Days from the date of the
Optional Prepayment Notice. Notwithstanding Holder’s receipt of the Optional Prepayment Notice
the Holder may convert, or continue to convert the Note in whole or in part until the Optional
Prepayment Amount (as defined herein) is paid to the Holder. On the date fixed for prepayment
(the “Optional Prepayment Date”), the Borrower shall make payment of the Optional Prepayment

                                                   9
Convertible Note – DPLS, T1, 2018-09-25
           Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 11 of 21



Amount (as defined below) to or upon the order of the Holder as specified by the Holder in writing
to the Borrower at least one (1) business day prior to the Optional Prepayment Date. If the
Borrower exercises its right to prepay the Note, the Borrower shall make payment to the Holder of
an amount in cash (the “Optional Prepayment Amount”) equal to the Prepayment Factor (as defined
below), multiplied by the sum of: (w) the then outstanding principal amount of this Note plus (x)
accrued and unpaid interest on the unpaid principal amount of this Note to the Optional Prepayment
Date plus (y) Default Interest, if any, on the amounts referred to in clauses (w) and (x) plus (z) any
amounts owed to the Holder pursuant to Sections 1.3 and 1.4(g) hereof. If the Borrower delivers an
Optional Prepayment Notice and fails to pay the Optional Prepayment Amount due to the Holder of
the Note within two (2) business days following the Optional Prepayment Date, the Borrower shall
forever forfeit its right to prepay the Note pursuant to this Section. After the Prepayment
Termination Date, the Borrower shall have no right to prepay this Note. For purposes hereof, the
“Prepayment Factor” shall equal one hundred and fifty percent (130%).

                                          ARTICLE II. CERTAIN COVENANTS

               2.1.    Distributions on Capital Stock. So long as the Borrower shall have any
obligation under this Note, the Borrower shall not without the Holder’s written consent (a) pay,
declare or set apart for such payment, any dividend or other distribution (whether in cash, property
or other securities) on shares of capital stock other than dividends on shares of Common Stock
solely in the form of additional shares of Common Stock or (b) directly or indirectly or through any
subsidiary make any other payment or distribution in respect of its capital stock except for
distributions pursuant to any shareholders’ rights plan which is approved by a majority of the
Borrower’s disinterested directors.

              2.2.    Restriction on Stock Repurchases. So long as the Borrower shall have any
obligation under this Note, the Borrower shall not without the Holder’s written consent redeem,
repurchase or otherwise acquire (whether for cash or in exchange for property or other securities or
otherwise) in any one transaction or series of related transactions any shares of capital stock of the
Borrower or any warrants, rights or options to purchase or acquire any such shares.

                   2.3.       [Intentionally Omitted].

               2.4.     Sale of Assets. Except as provided for in that Merger Agreement between
Klevertech Marketing, Inc, Dark Pulse Technologies, Inc., and DPTH Acquisition Corporation
entered into on or about April 27, 2018, so long as the Borrower shall have any obligation under
this Note, the Borrower shall not, without the Holder’s written consent, sell, lease or otherwise
dispose of any significant portion of its assets outside the ordinary course of business. Any consent
to the disposition of any assets may be conditioned on a specified use of the proceeds of disposition.

               2.5.    Advances and Loans. So long as the Borrower shall have any obligation
under this Note, the Borrower shall not, without the Holder’s written consent, lend money, give
credit or make advances to any person, firm, joint venture or corporation, including, without
limitation, officers, directors, employees, subsidiaries and affiliates of the Borrower, except (i)
loans, credits or advances in existence or committed on the date hereof and which the Borrower has
informed Holder in writing prior to the date hereof, or (ii) loans, credits or advances to those entities
which have agreed in writing to guarantee the Note (for clarity only those entities which are listed,


                                                         10
Convertible Note – DPLS, T1, 2018-09-25
           Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 12 of 21



and signed for by someone with the authority to do so on the Guaranty contained in the Purchase
Agreement).

              2.6.   Charter. So long as the Borrower shall have any obligations under this Note,
the Borrower shall not amend its charter documents, including without limitation its certificate of
incorporation and bylaws, in any manner that materially and adversely affects any rights of the
Holder.

              2.7.    Transfer Agent. The Borrower shall not change its transfer agent without the
prior written consent of the Holder. Any resignation by the transfer agent without a replacement
transfer agent consented to by the Holder prior to such replacement taking effect shall constitute an
Event of Default hereunder.

               2.8.    3(a)(10) Transaction. So long as this Note is outstanding, the Borrower shall
not enter into any transaction or arrangement structured in accordance with, based upon, or related
or pursuant to, in whole or in part Section 3(a)(l0) of the Securities Act (a “3(a)(l0) Transaction”).
In the event that the Borrower does enter into, or makes any issuance of Common Stock related to a
3(a)(10) Transaction while this Note is outstanding, a liquidated damages charge of 25% of the
outstanding principal balance of this Note, but not less than Fifteen Thousand Dollars $15,000, will
be assessed and will become immediately due and payable to the Holder at its election in the form
of cash payment or addition to the balance of this Note.

                                          ARTICLE III. EVENTS OF DEFAULT

               Any one or more of the following events which shall occur and/or be continuing shall
constitute an event of default (each, an “Event of Default”):

             3.1.     Failure to Pay Principal or Interest. The Borrower fails to pay the principal
hereof or interest thereon when due on this Note, whether at maturity, upon acceleration or
otherwise.

               3.2.     Conversion and the Shares. The Borrower fails to issue shares of Common
Stock to the Holder (or announces or threatens in writing that it will not honor its obligation to do so
at any time following the execution hereof or) upon exercise by the Holder of the conversion rights
of the Holder in accordance with the terms of this Note, fails to transfer or cause its transfer agent to
transfer (issue) (electronically or in certificated form) any certificate for shares of Common Stock
issued to the Holder upon conversion of or otherwise pursuant to this Note as and when required by
this Note, the Borrower directs its transfer agent not to transfer or delays, impairs, and/or hinders its
transfer agent in transferring (or issuing) (electronically or in certificated form) any certificate for
shares of Common Stock to be issued to the Holder upon conversion of or otherwise pursuant to this
Note as and when required by this Note, or fails to remove (or directs its transfer agent not to
remove or impairs, delays, and/or hinders its transfer agent from removing) any restrictive legend
(or to withdraw any stop transfer instructions in respect thereof) on any certificate for any shares of
Common Stock issued to the Holder upon conversion of or otherwise pursuant to this Note as and
when required by this Note (or makes any written announcement, statement or threat that it does not
intend to honor the obligations described in this paragraph) and any such failure shall continue
uncured (or any written announcement, statement or threat not to honor its obligations shall not be
rescinded in writing) for five (5) business days after the Holder shall have delivered a Notice of

                                                        11
Convertible Note – DPLS, T1, 2018-09-25
           Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 13 of 21



Conversion. It is an obligation of the Borrower to remain current in its obligations to its transfer
agent. It shall be an event of default of this Note, if a conversion of this Note is delayed, hindered or
frustrated due to a balance owed by the Borrower to its transfer agent. If at the option of the Holder,
the Holder advances any funds to the Borrower’s transfer agent in order to process a conversion,
such advanced funds shall be paid by the Borrower to the Holder within forty eight (48) hours of a
demand from the Holder.

              3.3.    Breach of Covenants. The Borrower breaches any material covenant or other
material term or condition contained in this Note and any collateral documents including but not
limited to the Purchase Agreement and such breach continues for a period of three (3) days after
written notice (via email) thereof to the Borrower from the Holder.

              3.4.    Breach of Representations and Warranties. Any representation or warranty of
the Borrower made herein or in any agreement, statement, certificate, or any other document given
in writing pursuant hereto or in connection herewith (including, without limitation, the Purchase
Agreement, and/or the due diligence questionnaire provided by the Borrower to the Holder on or
around the Issue Date), shall be false or misleading in any material respect when made and/ or the
breach of which has (or with the passage of time will have) a material adverse effect on the rights of
the Holder with respect to this Note or the Purchase Agreement.
               3.5.    Receiver or Trustee. The Borrower or any subsidiary of the Borrower shall
make an assignment for the benefit of creditors, or apply for or consent to the appointment of a
receiver or trustee for it or for a substantial part of its property or business, or such a receiver or
trustee shall otherwise be appointed.
               3.6.    Judgments. Any money judgment, writ or similar process shall be entered or
filed against the Borrower or any subsidiary of the Borrower or any of its property or other assets
for more than $50,000.00, and shall remain unvacated, unbonded or unstayed for a period of twenty
(20) days unless otherwise consented to by the Holder, which consent will not be unreasonably
withheld.
              3.7.     Bankruptcy. Bankruptcy, insolvency, reorganization or liquidation
proceedings or other proceedings, voluntary or involuntary, for relief under any bankruptcy law or
any law for the relief of debtors shall be instituted by or against the Borrower or any subsidiary of
the Borrower.
             3.8.   Delisting of Common Stock. The Borrower shall fail to maintain the listing of
the Common Stock on at least one of the OTCBB, or OTCQB, OTC Pink or an equivalent
replacement exchange, NASDAQ, the NYSE or AMEX.
               3.9.    Failure to Comply with the Exchange Act. The Borrower shall fail to comply
in any material respect with the reporting requirements of the Exchange Act; and/or the Borrower
shall cease to be subject to the reporting requirements of the Exchange Act.
              3.10. Liquidation. Any dissolution, liquidation, or winding up of Borrower or any
substantial portion of its business.
               3.11. Cessation of Operations. Any cessation of operations by Borrower or
Borrower admits it is otherwise generally unable to pay its debts as such debts become due,
provided, however, that any disclosure of the Borrower’s ability to continue as a “going concern”
shall not be an admission that the Borrower cannot pay its debts as they become due.


                                                   12
Convertible Note – DPLS, T1, 2018-09-25
           Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 14 of 21



             3.12. Maintenance of Assets. The failure by Borrower, during the term of this
Note, to maintain any material intellectual property rights, personal, real property or other assets
which are necessary to conduct its business (whether now or in the future).
               3.13. Financial Statement Restatement. The restatement of any financial
statements filed by the Borrower with the SEC for any date or period from two years prior to the
Issue Date of this Note and until this Note is no longer outstanding, if the result of such restatement
would, by comparison to the unrestated financial statement, have constituted a material adverse
effect on the rights of the Holder with respect to this Note or the Purchase Agreement.
             3.14. Reverse Splits. The Borrower effectuates a reverse split of its Common Stock
without twenty (20) days prior written notice to the Holder.
               3.15. Replacement of Transfer Agent. In the event that the Borrower proposes to
replace its transfer agent, the Borrower fails to provide, prior to the effective date of such
replacement, a fully executed Irrevocable Transfer Agent Instructions in a form as initially
delivered pursuant to the Purchase Agreement (including but not limited to the provision to
irrevocably reserve shares of Common Stock in the Reserved Amount) signed by the successor
transfer agent to Borrower and the Borrower.
               3.16. Cross-Default. Notwithstanding anything to the contrary contained in this
Note or the other related or companion documents, a breach or default by the Borrower of any
covenant or other term or condition contained in any of the Other Agreements, after the passage of
all applicable notice and cure or grace periods, shall, at the option of the Holder, be considered a
default under this Note and the Other Agreements, in which event the Holder shall be entitled (but
in no event required) to apply all rights and remedies of the Holder under the terms of this Note and
the Other Agreements by reason of a default under said Other Agreement or hereunder. “Other
Agreements” means, collectively, all agreements and instruments between, among or by: (1) the
Borrower, and, or for the benefit of, (2) the Holder and any affiliate of the Holder, including,
without limitation, promissory notes; provided, however, the term “Other Agreements” shall not
include the related or companion documents to this Note. Each of the loan transactions will be
cross-defaulted with each other loan transaction and with all other existing and future debt of
Borrower to the Holder.
Upon the occurrence and during the continuation of any Event of Default specified in Article III of
the Note exercisable through the delivery of written notice to the Borrower by such Holders (the
“Default Notice”), the Note shall become immediately due and payable and the Borrower shall pay
to the Holder, in full satisfaction of its obligations hereunder, an amount equal to the greater of (i)
200% times the sum of (w) the then outstanding principal amount of this Note plus (x) accrued and
unpaid interest on the unpaid principal amount of this Note to the date of payment (the “Mandatory
Repayment Date”) plus (y) Default Interest, if any, on the amounts referred to in clauses (w) and/or
(x) plus (z) any amounts owed to the Holder pursuant to Section and 1.4(g) hereof (the then
outstanding principal amount of this Note to the date of payment plus the amounts referred to in
clauses (x), (y) and (z) shall collectively be known as the “Default Sum”) or (ii) the “parity value”
of the Default Sum to be prepaid, where parity value means (a) the highest number of shares of
Common Stock issuable upon conversion of or otherwise pursuant to such Default Sum in
accordance with Article I, treating the Trading Day immediately preceding the Mandatory
Repayment Date as the “Conversion Date” for purposes of determining the lowest applicable
Conversion Price, unless the Default Event arises as a result of a breach in respect of a specific
Conversion Date in which case such Conversion Date shall be the Conversion Date), multiplied

                                                  13
Convertible Note – DPLS, T1, 2018-09-25
           Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 15 of 21



by (b) the highest Closing Price for the Common Stock during the period beginning on the date of
first occurrence of the Event of Default and ending one day prior to the Mandatory Repayment Date
(the “Default Amount”) and all other amounts payable hereunder shall immediately become due and
payable, all without demand, presentment or notice, all of which hereby are expressly waived,
together with all costs, including, without limitation, legal fees and expenses, of collection, and the
Holder shall be entitled to exercise all other rights and remedies available at law or in equity.
If the Borrower fails to pay the Default Amount within five (5) business days of written notice that
such amount is due and payable, then the Holder shall have the right at any time, so long as the
Borrower remains in default (and so long and to the extent that there are sufficient authorized
shares), to require the Borrower, upon written notice, to immediately issue, in lieu of the Default
Amount, the number of shares of Common Stock of the Borrower equal to the Default Amount
divided by the Conversion Price then in effect. The Holder may still convert any amounts due
hereunder, including without limitation the Default Sum, until such time as this Note has been
repaid in full.
              3.17. Inside Information. The Borrower or its officers, directors, and/or affiliates
attempt to transmit, convey, disclose, or any actual transmittal, conveyance, or disclosure by the
Borrower or its officers, directors, and/or affiliates of, material non-public information concerning
the Borrower, to the Holder or its successors and assigns, which is not immediately cured by
Borrower’s filing of a Form 8-K pursuant to Regulation FD on that same date.
              3.18 Bid Price. The Borrower shall lose the “bid” price for its Common Stock
($0.0001 on the “Ask” with zero market makers on the “Bid” per Level 2) and/or a market
(including the OTC Pink, OTCQB or an equivalent replacement exchange).
              3. 19 Market Loss. If at any time while this Note is outstanding the Borrower’s
Common Stock trades below $0.01, the principal amount of the Note shall automatically and
without further action increase by fifteen thousand dollars ($15,000.00), and at the sole option of
the Holder, the Company shall within fifteen (15) calendars days from Holder’s direction to so,
obtain the necessary shareholder and board of director approvals (if applicable), and file the
requisite documents with FINRA, to effectuate a reverse split.


                                          ARTICLE IV. MISCELLANEOUS
               4.1.    Failure or Indulgence Not Waiver. No failure or delay on the part of the
Holder in the exercise of any power, right or privilege hereunder shall operate as a waiver thereof,
nor shall any single or partial exercise of any such power, right or privilege preclude other or further
exercise thereof or of any other right, power or privileges. All rights and remedies existing
hereunder are cumulative to, and not exclusive of, any rights or remedies otherwise available.
               4.2.     Notices. All notices, demands, requests, consents, approvals, and other
communications required or permitted hereunder shall be in writing and, unless otherwise specified
herein, shall be (i) personally served, (ii) deposited in the mail, registered or certified, return receipt
requested, postage prepaid, (iii) delivered by reputable air courier service with charges prepaid, or
(iv) transmitted by hand delivery, telegram, email or facsimile, addressed as set forth below or to
such other address as such party shall have specified most recently by written notice. Any notice or
other communication required or permitted to be given hereunder shall be deemed effective (a)
upon hand delivery or delivery by facsimile or email, with accurate confirmation generated by the
transmitting facsimile machine or computer, at the address, email or number designated in the

                                                     14
Convertible Note – DPLS, T1, 2018-09-25
           Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 16 of 21



Purchase Agreement (if delivered on a business day during normal business hours where such
notice is to be received), or the first business day following such delivery (if delivered other than on
a business day during normal business hours where such notice is to be received) or (b) on the
second business day following the date of mailing by express courier service, fully prepaid,
addressed to such address, or upon actual receipt of such mailing, whichever shall first occur.

               4.3.   Amendments. This Note and any provision hereof may only be amended by
an instrument in writing signed by the Borrower and the Holder. The term “Note” and all reference
thereto, as used throughout this instrument, shall mean this instrument (and the other Notes issued
pursuant to the Purchase Agreement) as originally executed, or if later amended or supplemented,
then as so amended or supplemented.

              4.4.     Assignability. This Note shall be binding upon the Borrower and its
successors and assigns, and shall inure to be the benefit of the Holder and its successors and assigns.
Each transferee of this Note must be an “accredited investor” (as defined in Rule 501(a) of the 1933
Act). Notwithstanding anything in this Note to the contrary, this Note may be pledged as collateral
in connection with a bona fide margin account or other lending arrangement.

             4.5.     Cost of Collection. If default is made in the payment of this Note, the
Borrower shall pay the Holder hereof costs of collection, including reasonable attorneys’ fees.

               4.6.    Governing Law. This Note shall be governed by and construed in accordance
with the laws of the State of New York without regard to conflicts of laws principles that would
result in the application of the substantive laws of another jurisdiction. Any action brought by
either party against the other concerning the transactions contemplated by this Agreement must be
brought only in the civil or state courts of New York or in the federal courts located in the State and
county of New York. Both parties and the individual signing this Agreement on behalf of the
Borrower agree to submit to the jurisdiction of such courts. The prevailing party shall be entitled to
recover from the other party its reasonable attorney’s fees and costs. In the event that any provision
of this Note is invalid or unenforceable under any applicable statute or rule of law, then such
provision shall be deemed inoperative to the extent that it may conflict therewith and shall be
deemed modified to conform with such statute or rule of law. Any such provision which may prove
invalid or unenforceable under any law shall not affect the validity or unenforceability of any other
provision of this Note. Nothing contained herein shall be deemed or operate to preclude the Holder
from bringing suit or taking other legal action against the Borrower in any other jurisdiction to
collect on the Borrower’s obligations to Holder, to realize on any collateral or any other security for
such obligations, or to enforce a judgment or other decision in favor of the Holder. This Note shall
be deemed an unconditional obligation of Borrower for the payment of money and, without
limitation to any other remedies of Holder, may be enforced against Borrower by summary
proceeding pursuant to New York Civil Procedure Law and Rules Section 3213 or any similar
rule or statute in the jurisdiction where enforcement is sought. For purposes of such rule or
statute, any other document or agreement to which Holder and Borrower are parties or which
Borrower delivered to Holder, which may be convenient or necessary to determine Holder’s
rights hereunder or Borrower’s obligations to Holder are deemed a part of this Note, whether
or not such other document or agreement was delivered together herewith or was executed
apart from this Note.



                                                  15
Convertible Note – DPLS, T1, 2018-09-25
           Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 17 of 21



               4.7.    Certain Amounts. Whenever pursuant to this Note the Borrower is required to
pay an amount in excess of the outstanding principal amount (or the portion thereof required to be
paid at that time) plus accrued and unpaid interest plus Default Interest on such interest, the
Borrower and the Holder agree that the actual damages to the Holder from the receipt of cash
payment on this Note may be difficult to determine and the amount to be so paid by the Borrower
represents stipulated damages and not a penalty and is intended to compensate the Holder in part for
loss of the opportunity to convert this Note and to earn a return from the sale of shares of Common
Stock acquired upon conversion of this Note at a price in excess of the price paid for such shares
pursuant to this Note. The Borrower and the Holder hereby agree that such amount of stipulated
damages is not plainly disproportionate to the possible loss to the Holder from the receipt of a cash
payment without the opportunity to convert this Note into shares of Common Stock.

               4.8.    Disclosure. Upon receipt or delivery by the Company of any notice in
accordance with the terms of this Note, unless the Company has in good faith determined that the
matters relating to such notice do not constitute material, non-public information relating to the
Company or any of its Subsidiaries, the Company shall within one (1) Trading Day after any such
receipt or delivery, publicly disclose such material, non-public information on a Current Report on
Form 8-K or otherwise. In the event that the Company believes that a notice contains material, non-
public information relating to the Company or any of its Subsidiaries, the Company so shall indicate
to such Holder contemporaneously with delivery of such notice, and in the absence of any such
indication, the Holder shall be allowed to presume that all matters relating to such notice do not
constitute material, non-public information relating to the Company or its Subsidiaries.

               4.9.     Notice of Corporate Events. Except as otherwise provided below, the Holder
of this Note shall have no rights as a Holder of Common Stock unless and only to the extent that it
converts this Note into Common Stock. The Borrower shall provide the Holder with prior
notification of any meeting of the Borrower’s shareholders (and copies of proxy materials and other
information sent to shareholders). In the event of any taking by the Borrower of a record of its
shareholders for the purpose of determining shareholders who are entitled to receive payment of any
dividend or other distribution, any right to subscribe for, purchase or otherwise acquire (including
by way of merger, consolidation, reclassification or recapitalization) any share of any class or any
other securities or property, or to receive any other right, or for the purpose of determining
shareholders who are entitled to vote in connection with any proposed sale, lease or conveyance of
all or substantially all of the assets of the Borrower or any proposed liquidation, dissolution or
winding up of the Borrower, the Borrower shall mail a notice to the Holder, at least twenty (20)
days prior to the record date specified therein (or thirty (30) days prior to the consummation of the
transaction or event, whichever is earlier), of the date on which any such record is to be taken for
the purpose of such dividend, distribution, right or other event, and a brief statement regarding the
amount and character of such dividend, distribution, right or other event to the extent known at such
time. The Borrower shall make a public announcement of any event requiring notification to the
Holder hereunder substantially simultaneously with the notification to the Holder in accordance
with the terms of this Section 4.9.

              4.10. Remedies. The Borrower acknowledges that a breach by it of its obligations
hereunder will cause irreparable harm to the Holder, by vitiating the intent and purpose of the
transaction contemplated hereby. Accordingly, the Borrower acknowledges that the remedy at law
for a breach of its obligations under this Note will be inadequate and agrees, in the event of a breach
or threatened breach by the Borrower of the provisions of this Note, that the Holder shall be

                                                  16
Convertible Note – DPLS, T1, 2018-09-25
           Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 18 of 21



entitled, in addition to all other available remedies at law or in equity, and in addition to the
penalties assessable herein, to an injunction or injunctions restraining, preventing or curing any
breach of this Note and to enforce specifically the terms and provisions thereof, without the
necessity of showing economic loss and without any bond or other security being required.

             4.11. Usury. This Note shall be subject to the anti-usury limitations contained in
the Purchase Agreement.




                                      (Remainder of Page intentionally left blank)




                                                          17
Convertible Note – DPLS, T1, 2018-09-25
           Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 19 of 21



IN WITNESS WHEREOF, Borrower has caused this Note to be signed in its name by its duly
authorized officer as of the Issue Date first set forth above.


DARKPULSE, INC.


By:
          Name: Dennis M. O’Leary
          Title: CEO




                                            18
Convertible Note – DPLS, T1, 2018-09-25
            Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 20 of 21



                                                              EXHIBIT A

                                                  NOTICE OF CONVERSION

The undersigned hereby elects to convert principal under the 8% Convertible Note of DARKPULSE, INC., a
Delaware corporation (the Company”), into shares of common stock (the “Common Stock”), of the
Company according to the conditions hereof, as of the date written below. If shares of Common Stock are to
be issued in the name of a person other than the undersigned, the undersigned will pay all transfer taxes
payable with respect thereto and is delivering herewith such certificates and opinions as reasonably requested
by the Company in accordance therewith. No fee will be charged to the holder for any conversion, except for
such transfer taxes, if any.
         By the delivery of this Notice of Conversion the undersigned represents and warrants to the
Company that its ownership of the Common Stock does not exceed the amounts specified under Section 1.1
of this Note, as determined in accordance with Section 13(d) of the Exchange Act.
         The undersigned agrees to comply with the prospectus delivery requirements under the applicable
securities laws in connection with any transfer of the aforesaid shares of Common Stock pursuant to any
prospectus.
Conversion calculations:
                                         Issue Date of Note:
                                         Date to Effect Conversion:

                                                      Conversion Price:
                                                      Principal Amount of Note to be Converted:
                                                      Less applicable fees under the Note:
                                                      Amount of Note to be Converted:

                                                      Interest Accrued on Account
                                                      of Conversion at Issue:

                                                      Additional Principal on Account of Conversion
                                                      Pursuant to Section 1.2(b) of the Note:

                                                      Number of shares of Common Stock to be issued:

                                                      Remaining Balance of Note*:

                                                      Signature:

                                                      Name:

                                                      Address for Delivery of Common Stock Certificates:



                                                      Or

                                                      DWAC Instructions:
                                                      DTC No:
                                                      Account No:
*Remaining Balance does not include accrued interest, or if applicable, any default sums, automatic increases in principal, other fees or penalties
(with the exception of 1.2(c) fees), which have accrued or may be accruing as may be described more fully in the Note or Purchase Agreement.”

                                                                       19
Convertible Note – DPLS, T1, 2018-09-25
                                         Case 1:22-cv-00045-LGS Document 13-2 Filed 03/28/22 Page 21 of 21




                                          Dennis M. O'Leary




Electronically Signed using eSignOnline™ [ Session ID : 5df8b0f9-aefb-4f0d-bb8c-574db8e90d4c ]
